                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

     UNITED STATES OF AMERICA,                        § CRIMINAL ACTION NO.
                                                      §
                     Plaintiff,                       § 4:16-CR-176
                                                      §
                                                      §
    v.                                                §
                                                      §
                                                      §
         JAMES MORRIS BALAGIA,                        §
                                                      §
                   Defendant.                         §


                    DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

 To the Honorable United States District Judge:

         Defendant James Morris Balagia, by and through his counsel files this Motion to

Suppress Evidence. Specifically, Mr. Balagia moves for the suppression and exclusion of the

video recorded on December 21, 2015 at La Picota prison and all recordings made at the Collin

County Jail. In support of this motion, Defendant Balagia states as follows:

December 21, 2015 Recording

   1.    Pursuant to the defense’s Colombian counsel, Colombian law does not permit the

         recording of an attorney without his permission or a court order.

   2. Upon information and belief, no court order was obtained permitting the recording of Mr.

         Balagia on December 21, 2015 at La Picota prison. Defendant attempted to obtain this

         information through defense investigation. In addition, Defendant has sought discovery

         regarding whether proper authority was obtained, but none has been received. If the

         Government provides such discovery, Defendant will update this Motion.




                                                  1
   3. The recording made on December 21, 2015 was made without Mr. Balagia’s knowledge

      or consent. As such, it was obtained illegally pursuant to Colombian law and should be

      suppressed and excluded.

   4. Mr. Balagia had a reasonable expectation of privacy with regard to conversation captured

      in the December 21, 2015 recording because he did not give his permission to be

      recorded, which is required by Colombian law.

Collin County Jail Recordings

   5. The recordings made at the Collin County Jail were also made without proper authority

      and in violation of Mr. Balagia’s reasonable expectation of privacy.

   6. Under Title III, a protected “oral communication” is “any oral communication uttered by

      a person exhibiting an expectation that such communication is not subject to interception

      under circumstances justifying such expectation[.]” 18 U.S.C. § 2510(2).

   7. Clearly Mr. Balagia had a reasonable expectation that his conversations with his client

      were not subject to interception. The attorney-client is the “oldest of the privileges for

      confidential communications known to the common law.” Upjohn Co. v. United States,

      449 U.S. 383, 389, 101 S.Ct. 677, 66 L.Ed.2d 584 (1981) (citation omitted). See Hunt v.

      Blackburn, 128 U.S. 464, 470, 9 S.Ct. 125, 32 L.Ed. 488 (1888).

   8. Title III requires that the recording of oral communications “occurs only when there is a

      genuine need for it and only to the extent that it is needed.” Dalia v. United States, 441

      U.S. 238, 250 (1979).

   9. Title III requires high-level Justice Department approval, 18 U.S.C. § 2516(1). Prior to

      recording oral communications, a written application to a judge for an order authorizing

      the interception must be made, which includes “a full and complete statement as to



                                                2
      whether or not other investigative procedures have been tried and failed or why they

      reasonably appear to be unlikely to succeed if tried or to be too dangerous.” id.§§

      2518(l)(c), 2518(3)(c).

   10. As such, Title III stands for the Congressional policy that recordings cannot be used “in

      situations where traditional investigative techniques would suffice to expose the crime.”

      United States v. Kahn, 415 U.S. 143, 153 n.12 (1974).

   11. Even if electronic recordings are appropriate, such surveillance must be conducted

      pursuant to judicially approved procedures. 18 U.S.C. § 2518(5).

   12. Upon information and belief, the United States Attorneys’ Office and the FBI chose to

      proceed without notifying the Justice Department and without receiving proper authority.

      See the attached Federal Bureau of Investigation Electronic Communication titled,

      “Operation Conducted without OEO Approval,” dated June 10, 2016, and the

      accompanying email dated May 26, 2016, attached hereto as Exhibit A.

   13. Defendant has sought discovery regarding whether proper authority was obtained, but none

      has been received. If the Government provides such discovery, Defendant will update this

      Motion.

Suppression of Other Evidence

   14. Furthermore, any evidence gained from the wrongfully obtained recordings should be

      suppressed. The government must prove, at an evidentiary hearing, that the evidence it

      intends to introduce was not tainted by the unlawful recordings. See Wong Sun v. United

      States, 371 U.S. 471, 484-85 (1963); Silverthorne Lumber Co. v. United States, 251 U.S.

      385, 392 (1920).




                                                3
                                         Prayer for Relief

   Pursuant to the foregoing, Mr. Balagia respectfully requests that the Court suppress the

contents of the December 21, 2015 video and to rule that the government may not use any

evidence derived from such video, and that the Court suppress the contents of the recordings

made at the Collin County Jail and to rule that the government may not use any evidence derived

from such recordings.


                                            Respectfully submitted,

                                            /S/DAPHNE PATTISON SILVERMAN
                                            Daphne Pattison Silverman (TBN 06739550)
                                            Silverman Law Group
                                            501 N. IH-35
                                            Austin, TX 78702
                                            512-485-3003
                                            Fax: 512-597-1658
                                            daphnesilverman@gmail.com

                                    Certificate of Conference
          I certify that I corresponded with AUSA Rattan regarding the use of the unlawful
  recordings. AUSA Rattan advised that she does not consent to this Motion and intends to use
  the recordings and evidence obtained therefrom.


                                                    /S/DAPHNE PATTISON SILVERMAN
                                                    Daphne Pattison Silverman




                                               4
                                    Certificate of Service
        I certify that on March 8, 2019, this document was filed with the Clerk of the Court
using the electronic case filing system that automatically sends notice of electronic filing to
the attorneys of record who have consented to accept such service.
                                                  /S/DAPHNE PATTISON SILVERMAN
                                                  Daphne Pattison Silverman




                                              5
